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             EXHIBIT C
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                                                                  then candidate for governor of the P.N.P. Dr. Pedro J.
  1996 JTS 33,140 D.P.R. 294,1996 WL 539089 (P.R.)                Rosselló González. At the top of the photograph, there is
        LUIS BONILLA MEDINA and OTHERS,                           the slogan “Rosselló Con la Fuerza del Pueblo” [Rossello
               claimants and appellants,                          with the Strength of the People] and at the bottom there is
                                                                  an itinerary entitled “Schedule of visits to towns” followed
                              v.                                  by the phrase “...for a new start.” Appendix, p. 26.
            NUEVO PROGRESISTA PARTY,
               defendant and respondent.                          Luis Bonilla Medina, his wife, María Vázquez Avilés, and
                                                                  the community property of Husband and Wife presented a
           In the Supreme Court of Puerto Rico.                   lawsuit for damages and losses against Dr. Pedro J.
                   Number: CE-94-543                              Rosselló González, the P.N.P., Mr. Marcos Morell, in his
                                                                  capacity as Secretary of the P.N.P. and others, in which
Synopsis                                                          they alleged that the publication of the photograph of
CERTIORARI PETITION to review a JUDGMENT of                       Bonilla Medina without his consent constituted a violation
Carmen Celinda Ríos, J. (San Juan), which dismisses a             of his right to privacy. They alleged that the defendants
certain claim for damages and losses for the use without          published the photo “with the veiled purpose” of
authorization of a photograph of the claimant in an               transmitting “the underlying message that the claimant had
advertisement of the Nuevo Progresista Party. Confirmed           joined the Nuevo Progresista Party” (Appendix, page 22)
and the imposition of fees for recklessness is revoked.           and that because of its publication, they had been subject
                                                                  to insults by people in their community “who thought that
                                                                  they had abandoned their principles.” Id. They pointed out
Juan M. Ponce Fantauzzi. of the Law Firm Ponce                    that Bonilla Medina is known in the community of Isabela
Fantauzzi, lawyer of the appellants; Max Pérez Preston,           and in the neighboring towns as a member of the Popular
lawyer of the respondent.                                         Democrático Party, “since he was one of the founders of
                                                                  that group in the region.” Id. *298
ASSOCIATE JUDGE MR. HERNÁNDEZ DENTON
issued the opinion of the Court.                                  The defendants filed a motion for summary judgment, in
                                                                  which they alleged that there was no dispute whatsoever
In case in question, we are responsible for establishing a        over the material facts of the case and that the claim did
delicate balance between two (2) rights of the highest            not meet the requirements of a cause of action for libel,
constitutional hierarchy: freedom of expression, in a             and consequently it should be dismissed. The claimants
situation in which the challenged expression is a political       filed a brief of opposition. They argued, in summary, that
expression, and the right to privacy, in its aspect of the        their cause of action was for violation of the constitutional
right to self-image.
                                                                  right to privacy, as recognized in     Colón v. Romero
                                                                  Barceló, 112 DPR 573 (1982), and not a cause of action
Luis Bonilla Medina appears before us and requests the
                                                                  for libel, so it was not appropriate to issue a summary
revocation of the judgment issued by the Superior Court,
                                                                  judgment that dismissed the claim.
Courtroom of San Juan, which dismissed his claim for
damages and losses for the unauthorized use of a
                                                                  The Superior Court issued a summary judgment against
photograph of him in an advertisement of the Nuevo
                                                                  Bonilla Medina. It dismissed his claim on the
Progresista Party (hereinafter, P.N.P. [Partido Nuevo
                                                                  understanding that, unlike in Colón v. Romero Barceló,
Progresista]). On the understanding that in the case in
                                                                  supra, Bonilla Medina waived his right to privacy by
question the appellant’s right to privacy, in its aspect of the
                                                                  shaking hands with Dr. Rosselló. It also concluded that
right to self-image, must yield to the freedom of political
                                                                  “political advertisements are protected by the right of
expression of the then candidate for governor Dr. Pedro J.
                                                                  freedom of expression as guaranteed by our Constitution
Rosselló González, we confirm the judgment that
                                                                  and the First Amendment of the Constitution of the United
dismissed the filed claim. *297
                                                                  States.” (Citations omitted.) Appendix, p. 24.
                              I
The lawsuit in the case at hand arises from the publication
of a photograph of the appellant. Luis Bonilla Medina, in
an advertisement by the P.N.P. published in the newspaper
El Nuevo Día on March 30, 1992, which promoted certain
walks that the political party would carry out as part of the
campaign made for the 1992 general elections. The
photograph shows the appellant on the balcony of his
residence, adjacent to the sidewalk, shaking hands with the


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Dissatisfied with that determination, Bonilla Medina and       Political expression must receive the highest degree of
the other claimants appear before us and request the           constitutional protection in our pluralist society. In this
revocation of the judgment issued by the court of first        community, decisions are made democratically, so that the
instance. In summary, they allege that the court erred in      will of the majority emerges while respecting the rights of
determining that the appellant waived his right to privacy     minorities. This implies the free exchange of ideas,
by having shaken hands with Dr. Rosselló. On the               opinions and information on government and political
understanding that in the case in question, freedom of         processes. *300
expression has a greater hierarchy than the right to privacy
of Bonilla Medina, we confirm the judgment of the trial        On multiple occasions, the highest federal forum has
court that dismissed the claim filed.                          emphasized the preeminence of political expression within
                                                               the constitutional hierarchy of protection of freedom of
                            II                                 expression:
[1] Sec. 4 of Art. II of the Constitution of the
Commonwealth of Puerto Rico, L.P.R.A., Volume 1, ed.            ...the First Amendment was “designed with the purpose
1982, p. 265, recognizes freedom of expression as one of        of ensuring the free exchange of ideas to promote the
the *299 values of the highest hierarchy within our
constitutional order:                                           political and social changes desired by the people,”
                                                                Roth v. United States, 354 U.S. 476 (1957)°, so it cannot
                                                                be doubted that this constitutional guarantee has its most
       No law shall be passed that restricts the                complete and important application in the management
       freedom of speech or the right of the                    of campaigns of candidates for political positions. (Our
       people to meet in a peaceful assembly and                translation and emphasis.)       Monitor Patriot Co. v.
       to ask the government to make good
                                                                 Roy, 401 U.S. 265, 271-272 (1971). See, in addition,
       grievances.
                                                                 Buckley v. Valeo. 424 U.S. 1, 14-15 (1976).
                                                               [4] Nevertheless, we have previously stated that the higher
                                                               value granted to freedom of expression in our
[2] The Report of the Commission on the Charter of Rights
                                                               constitutional order “does not entail absolute lack of
of the Constituent Convention acknowledged that these
                                                               restriction, so that it cannot be subordinated to other
rights “cover the general scope of freedom of conscience,
                                                               interests when public necessity and convenience so
thought, expression, and their own activities to fully
                                                               require.” Mari Bras v. Casañas, supra, page 21.
exercise all these rights within the most extensive
freedom.” 4 Journal of Sessions of Constituent
Convention 2564 (1951).
                                                               The case in question presents an example of the
                                                               possibilities of conflict between the right to free
[3] Freedom of expression is an “indisputable root of the
                                                               expression and the right to privacy. See E.L.A. v.
government’s democratic system.” Mari Bras v. Casañas,
                                                               Brotherhood of Employees, 104 DPR 436 (1975). The
96 DPR 15, 20-21 (1968). See also Coss and U.P.R. v.
                                                               claim of Bonilla Medina is based on the cause of action in
C.E.E., 137 DPR 877 (1995). To this end, we have cited
                                                               damages and losses, under Art. 1802 of the Civil Code, 31
with approval the expressions of the Federal Supreme
                                                               L.P.R.A. sec. 5141, recognized in Colón v. Romero
Court in      Mills v. Alabama, 384 U.S. 214 (1966),           Barceló, supra, for violation of the right to privacy in its
relating to the First Amendment of the Federal                 aspect of the right to self-image.
Constitution, which guarantees freedom of expression:

   “Regardless of the various interpretations on the First
   Amendment, the opinion is practically unanimous to
   the effect that its main purpose is to protect free
   discussion on government matters. Of course, this
   includes the discussion about candidacies, structures
   and forms of government, the way government
   management is conducted or should be conducted, and
   everything related to political processes. “D” Mari
   Bras v. Casañas, supra, p. 22.




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On that occasion we revoked the judgment of the lower            privacy of Bonilla Medina, in relation to his right to his
court that dismissed the lawsuit of the widow and the            own image, must yield before the freedom of expression
children of Mr. Tulio Rivera Lugo against former                 of the then future candidate for governor.
governor Carlos Romero Barceló and the “Carlos 80                There is no doubt that the photograph was used as part of
Committee” for the publication of a grotesque photograph         a political campaign in an election process. In the
of the body of their husband and father, who was murdered        advertisement in which it appeared, citizens were
on September 24, 1977, in a television advertisement             informed of the schedule of visits of the P.N.P. walking
three (3) years after his death.                                 tour in certain towns of the Island.
[5] We recognize the right to the self-image in our *301
jurisdiction based on “the character and primacy of the          In the case at hand, unlike in Colón v. Romero Barceló,
right and protection of privacy” guaranteed by our               supra, we are dealing with a photograph taken in an event
Constitution in Sections 1 and 8 of its Article II, L.P.R.A.,    of public interest and in a place in view of the general
Volume 1. As we explained in Colón v. Romero Barceló,            public where Bonilla Medina was an accessory figure. As
supra, citing Santos Briz, “by virtue of this right (to self-    we noted in Colón, supra, the civil doctrine of the right to
image), any person is able to oppose the reproduction of         self-image allows the publication of photographs taken in
their image or the photographic versions of the same, by         public places or events without the authorization of the
persons to whom they have not granted express or tacit           person photographed when he or she is an accessory
authorization.” Colon v. Romero Barceló, supra, p. 578,          figure. The photo shows the then candidate for the
citing J. Santos Briz, El Derecho de Daños [Damages              government, Rosselló González, greeting Bonilla Medina
Law], Madrid, Ed. Rev. Der. Privado [Private Law], 1963,         during a walk while other people watch. This is not the
pp. 178-179.                                                     photo of a person who enjoys widespread recognition in
                                                                 Puerto Rico. So it could have been any other member of
We note, however, that “it is considered admissible,             the community shaking hands with Rosselló González. In
without prejudice to other grounds for justification, to         Colón, supra, the situation was not one of accessory
publish or take photographs in the sphere called                 nature. The contested publication *303 was a grotesque
contemporary history (aus dem Bereich der                        photo of the body of a murdered person. It was a situation
Zeitgeschichte) not relating to private life, or when they       that attempted to “capitalize” at the expense of the pain of
relate to meetings, demonstrations or other similar public       others.
acts or events or public localities in which the
photographed person is an accessory figure.” Colon v.            Bonilla Medina expressly rejected that his cause of action
Romero Barceló, supra, p. 578, citing Santos Briz, op. cit.      was for libel or defamation. However, one of the
In these cases, civil doctrine recognizes that the right to      allegations of the lawsuit is that the photograph was
one’s self-image must yield to the public interest of access     published with the “veiled purpose” of giving the
to information.                                                  impression that the claimant supported the candidacy of
                                                                 Dr. Pedro J. Rosselló González to the governorship of
Having examined the relevant regulations, our task is to         Puerto Rico, which was false and harmful to his
establish a balance between the interests of the free            reputation. We cannot support the argument that the mere
expression of Dr. Pedro J. Rosselló González, who was a          slogan of the “Rosselló With the Strength of the People”
candidate for governor of Puerto Rico at the time of the         campaign, together with the contested photo, in an
events of the case in question, and the interests of Bonilla     advertisement that reported the itinerary of a whole series
Medina on his privacy and image.                                 of walks, leads to that conclusion.

                             III                                 Usually, in a campaign for any elective position, both the
Bonilla Medina alleges that he suffered a violation of the       press and the candidates themselves take photographs of
right to privacy, in his aspect of the right to self-image, by   all political events and it is not until the activity ends that
the publication of his photograph without his *302               the ones that will be used in the campaign are chosen. At
consent. In his petition against the issuance of a summary       the time of taking the photograph, it is generally unknown
judgment, he expressly rejected that his cause of action         whether it will be selected for publication.
was for libel or defamation.

It appears from the file that the photograph disseminated
by the P.N.P. was taken as part of a walk against drugs
when Dr. Pedro Rosselló was a candidate for the highest
office in our country. This was taken while Rosselló
González was on a public sidewalk in front of the balcony
of the residence of Bonilla Medina, in a place visible to the
general public. In light of these circumstances, the right to


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If we recognize a cause of action in a case such as the one     It was not in dispute that the published photo was taken at
in question, we would be imposing on political contenders       a public event, in a place that was visible to the general
the excessively onerous obligation to obtain consent from       public; that Bonilla Medina was an accessory figure, and
each person whose photo is published as part of their           that the photo was used as part of a political campaign. By
political campaign. This would have the effect of limiting      applying the regulations existing prior to the case in
or “freezing” the expression, a situation that Section 4 of     question, we resolve that the court of first instance acted
Article II of our Constitution, supra, and the First            correctly when determining that the facts in dispute did not
Amendment of the Federal Constitution, supra, precisely         exist and by dismissing the claim through a summary
intend to avoid.                                                judgment.

We do not rule here that any expression made during the                                       V
political process is absolutely protected. We only conclude     Lastly, the appellants challenge the decision of the trial
that the specific facts before us justify that the freedom of   court to impose fees for recklessness. They point out that
expression of the then *304 candidate for the governorship      “any judicial claim against private persons for violating
of Puerto Rico prevails over the slight intrusion in privacy    their right to their personal integrity and image are rights
that Bonilla Medina may have suffered.                          recognized in the Constitution, jurisprudence and by legal
                                                                scholars,” which is why they should not have been ordered
                             IV                                 to pay fees for recklessness. Petition for certiorari, p. 16.
The appellants also point out that the lower court should       They are right.
not have issued a summary judgment, since in their              [9-10] Rule 44.1(d) of Civil Procedure provides that “if
opinion there was a dispute over essential facts in relation    any party has proceeded with recklessness, the court shall
to the cause for action exercised. They are incorrect.          impose on it in its judgment the payment of a sum for
[6] Rule 36.2 of Civil Procedure. 32 L.P.R.A. Ap. III.          attorney fees.” 31 L.P.R.A. Ap. IV. The objective of the
allows a defendant to request at any time that a summary        imposition of attorneys’ fees is to penalize the litigant that
judgment be handed down in its favor on part or all of the      “due to its stubbornness, obstinacy, contempt and
claim against it. This is applicable if                         insistence on an attitude devoid of grounds, forced the
                                                                other party, unnecessarily, to assume the disturbance,
 ... the allegations, ...depositions, responses to
 interrogations and admissions offered, together with the       expenses, work and inconvenience of a lawsuit.”
 sworn statements, if any, demonstrate that there is no         Fernández v. San Juan Cement Co., Inc., 118 D.P.R. 713,
 substantial real dispute regarding any material fact and       718 (1987). See Soto v. Lugo, 76 DPR 444 (1954). This
 as a matter of law, a summary judgment must be issued          determination rests on the sound discretion of the
 in favor of the petitioner. 32 L.P.R.A. Ap. III.               sentencing court. Raoca Plumbing v. Trans World, 114
                                                                DPR 464 (1983). The fees thus granted shall not be
[7-8] In the event that there is a dispute in relation to the   changed by an appellate court unless they are excessive,
facts, it is not appropriate to issue the summary judgment      insufficient or *306 constitute an abuse of discretion.
and any doubt must be resolved against the petitioning          Ramirez v. Club Cala de Palmas, 123 DPR 339 (1989).
party. Cuadrado Lugo v. Santiago Rodríguez, 126 D.P.R.
272 (1990). In Méndez Arocho v. El Vocero de PR., 130
DPR 867, 874 (1992), we express:


       This procedural mechanism is especially
       desirable in those cases in which freedom
       of expression is involved, since the
       extension of these lawsuits may have a
       paralyzing or deterrent effect (chilling
       effect) on the exercise of this fundamental
       right. See:      Villanueva v. Hernández
       Class, 128 DPR 618 (1991);   Oliveras
       v. Paniagua Diez, 115 DPR 257 (1982);
          García Cruz v. El Mundo, Inc., 108
       DPR 174, 182 (1978). *305




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When examining the cause of action exercised in the case       Mr. Luis Bonilla Medina was in the company of his
at hand in light of the foregoing considerations, we           mother, Mrs. Miguelina Medina, and a young woman on
conclude that Bonilla Medina was not reckless when filing      the open balcony of his home that borders and projects
the claim; since in Colón v. Romero Barceló. supra, a          onto the sidewalk. When the walk passed in front of his
cause of action for violation of the right to one’s self-      balcony, Dr. Rosselló extended his hand from the sidewalk
image based on the right to privacy had been recognized.       as a greeting, a gesture that Mr. Bonilla Medina
                                                               courteously responded to from his balcony, offering him
On the basis of the foregoing grounds, the order is issued     his hand. Without Mr. Bonilla Medina realizing it, this
and the decision of the lower court that dismissed the         moment was captured by a photographic lens from outside
claim for damages and losses presented in the case             the residence.1 *308
described is confirmed. The imposition of fees for
recklessness is revoked.                                       Four (4) months later, on March 30, 1992, said photo was
                                                               published in the newspapers El Vocero de Puerto Rico and
Associate Justice Mr. Negrón García issued a dissenting        El Nuevo Día as part of a political-party advertisement,
opinion. Associate Justice Mr. Fuster Berlingeri dissented     sponsored by the P.N.P.
without a written opinion. Associate Justice Mr. Corrada       The photo that was published is the same one described
Del Río did not intervene.                                     above, reduced and cropped on the right side. (See
                                                               Appendix B). The advertisement shows the campaign
                           --O--                               slogan in clear, large letters on top: ‘Rosselló with the
                                                               Strength of the People.” A schedule of visits to towns by
Dissenting opinion of Associate Justice Mr. Negrón             Dr. Rosselló appears below it, as a candidate for Governor
García.                                                        of the P.N.P. with the official symbol of this political
                                                               party. It contains the following slogan in large and clear
A citizen photographed in a public activity that, from the     letters: .”.. For a new start.” On the lower left margin it
open balcony of his home, responds courteously to the          says “Paid Political Advertisement.”
handshake greeting of a political candidate: does he waive
his right to privacy? Does this entail an authorization for    On May 26, 1992, Mr. Bonilla Medina, his wife, Ms.
that photo, which highlights his image, to be published as     María Vázquez Avilés, and the community property of
an advertisement in the promotional campaign of the            Husband and Wife filed in the Superior Court, San Juan
election campaign of that candidate, which infers his          Chamber, a lawsuit for damages and losses against the
support?                                                       P.N.P. Dr. Rosselló and others. In summary, they alleged
                                                               that Mr. Bonilla Medina did not notice that he had been
In order to respond correctly and legally to these questions   photographed when he greeted Doctor Rosselló; that in
a careful examination of the photograph and the                violation of his right to privacy, the photo was published
advertisement in question is required. Let us remember         behind his back, without his prior authorization or consent:
that “...what we see with our own eyes happens before we       that Mr. Bonilla Medina is a well-known founding
use a microscope; and if it is true that healthy eyes do not   member of the Popular Democrático Party (hereinafter the
see as many things as the microscope..., what the eyes can     P.P.D.) in the community of Isabela and neighboring
see is more true, and without them the microscope is           towns; that the advertisements convey the false impression
nothing.” *307 L. Castellani, Comentarios a la Suma            that he had joined the P.N.P. and that after the publication,
Teológica [Comments to the Theological Sum], cited by          he has suffered abuse, insults and contempt from people in
P.J. Bertolino, La Verdad Juridica Objectiva [The              his community who understood that he had betrayed his
Objective Legal Truth], Buenos Aires, Ed.                      political principles.
Depalma, 1990, p. 101.
                                                               On July 22, the co-defendants requested the summary
                             I                                 dismissal of the claim. Following several procedures, *309
On November 19, 1991, a walk was carried out in the town       on June 29, 1994, the honorable lower court (Hon. Carmen
of Isabela to promote the rejection of drug use. Civic,        Celinda Ríos, Judge), agreed and issued a dismissal
religious and political leaders of several parties             judgment.
participated in the activity; among them Dr. Pedro
Rosselló, a candidate for governor from the Nuevo
Progresista Party (hereinafter, the PNP), and Mr. Carmelo
Rivera, Mayor of Isabela, also of the PNP. The civic
activity was called: “Isabela says No to Drugs, March for
a Puerto Rico without Drugs and an Isabela without
Coke.”



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This venue concluded that Dr. Rosselló and his party’s            573, 576 (1982); Figueroa Ferrer v. E.L.A., 107 D.P.R.
committee “moved to the balcony of his residence, with            250 (1978); E.L.A. v. Brotherhood *311 of Employees,
Mr. Bonilla Medina 0 renouncing all legitimate                    104 DPR 436 (1975); Alberio Quiñones v. E.L.A., 90 DPR
expectation of privacy in relation to what happened               812 (1964); González v. Ramírez Cuerda, 88 DPR 125
specifically in front and on the balcony of his home.”            (1963).
Appendix, p. 23. It is then stated that “in consenting to the
entry without any safeguard or limitation, the claimant           In Colón v. Romero Barceló, supra, in endorsing an action
converted the front and balcony of his house into a public        for damages and injunction for the injury that has been
forum.” (Emphasis added.) Id. It characterized the lawsuit        caused by the publication of a grotesque photo of a body,
as without merit and imposed two thousand dollars                 for advertising purposes, regarding the constitutional
($2,000) in attorney’s fees for recklessness, plus the costs.     referendum on the right to bail, without the consent of the
                                                                  heirs of the deceased, we quote in full:
At the request of Mr. Bonilla Medina et al., we now
review.2
                                                                   There is no, prima facie evidence of appearance of the
                                                                   essential rights of the person in the Spanish Civil Code.
                              II                                   But, in reality, life, freedom, name, honor and other
The background of the facts that gives rise to this appeal         personal assets, even without having a clear concept of
presents a complex collision between the right to privacy          subjective rights, have, however, in our Law, apart from
*310 —self-image and identity— and the freedom of                  the corresponding protection of the criminal order, civil
expression in its facet of candidates in the arena of political    protection resulting from the compensation action that
partisanship. These rights oblige us to strike a balance           with a general nature is established by Art. 1,902 of the
based on their recognized hierarchical ranks and reciprocal        Civil Code, against that which, by action or omission,
limitations. In a tight analogical summary, the right to           causes damage to another involving fault or negligence.
privacy is equivalent to the heart of each human being;            (Emphasis added.) Castán, Derecho Civil Español,
free expression, the blood that nourishes it and, in turn,         Común y Foral [Spanish, Common and Regional Civil
gives life to democracy.                                           Law], 1971, T. I, Vol. 2, p. 341.

It is well known that both rights — privacy and expression         Santos Briz explains the right with reference to self-
— present different content and, therefore, different limits       image:
and effects when projected and inserted into social reality.
The right to personal privacy is part of the catalogue that        By virtue of this right, every person may oppose the
modern legal doctrine calls personality rights. It                 reproduction of their image or the obtaining of
corresponds to the spiritual sphere of the person in               photographic evidence of the same, by persons to whom
conjunction with his or her name, morals of author’s               they have not granted express or tacit authorization. The
recognition, honor, self-image, identity (political,               prohibition extends to reproducing the image of another
professional, occupational), psychophysical integrity,             in the theater, film or television; and includes not only
voice, etc. R. De Ángel Yagüez, La protección de la                the publication of the image but also the preparation,
personalidad en el Derecho Privado [Personality                    drawing or painting of the same without authorization
Protection in Private Law], 83 Rev. Der. Notarial 1, 42            when it opposes the legitimate interests of the affected
(1974); C. Roger Vidal, Bienes de la personalidad,                 party, especially if according to the object of the
derechos fundamentales y libertades públicas [Personal             photograph or the method and form of obtaining it is
Property, Fundamental Rights and Public Freedoms],                 scandalous or it occurred against the known will of the
Bologna, Pub. Real Col. de España, 1985, p. 30 et seq.; J.         person. The authorization to make a photograph does
Beltrán De Heredia y Castaño, Construcción jurídica de             not include the authorization to publish a photograph, as
los derechos de la personalidad [Legal Construction of             the authorization affects the interested party’s
Personality Rights], Discurso Real Academia de Jur. y              personality more intensely than simply making the
Leg., Madrid, 1976, p. 29.                                         photograph. The authorization for publishing may
                                                                   include some limitation whose amplitude will be
Privacy is “one of the rights of personality, of an innate         determined according to the interpretation of the specific
and private nature, inherent to man.”       Arroyo v. Rattan       case.

Specialties, Inc., 117 DPR 35, 59 (1986). See      P.R. Tel.
Co. v. Martínez, 114 D.P.R. 328. 338 (1983). It operates
ex propio vigore [from its own force] and its infringement
can be asserted and generate compensation, even among
private persons.3      Colón v. Romero Barceló, 112 DPR

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 Certain doctrine and even foreign legislation considers          ...the legitimacy of the Government depends on the
 admissible, without prejudice to other grounds for               consent of citizens, that is, “the will of the people is the
 justification, the publication or taking of photographs in       source of *313 public power...” ...We give this consent
 the sphere called contemporary history (“aus dem                 through impartial and fair elections... therefore, in order
 Bereich der Zeitgeschichte”) not referring to private life,      for democracy to triumph and reach its highest potential,
 or when photographing meetings, demonstrations *312              it is necessary that citizens consider and deliberate all
 or other similar public acts or public events or localities      their options in a spirit of freedom of conscience. ...Our
 in which the photographed person is an accessory                 Constitution contains several provisions aimed at
 figure. In addition, the publication of photographs made         ensuring that the process of democratic deliberation
 without the permission of the interested party is admitted       remains free, and not discriminatory. One of the main
 when so justified by a serious artistic interest. But even       functions of freedom of expression is to strengthen the
 in these cases, it should not be tolerated to take a             debate of political ideas among citizens, since there can
 photograph or publish it when a legitimate interest of the       be no democratic consent when opposing, dissident and
 photographed party opposes this. The publication of a            heterodox opinions cannot be expressed. Likewise, when
 photograph should also be considered inadmissible                establishing the right to vote, Sec. 2 of Art. II. Const.
 when the taking of the photograph has violated interests         E.L.A., supra, intertwines it with its ulterior purpose of
 worthy of a predominant protection, even if the                  guaranteeing the free expression of the will of the
 publication itself does not oppose said interests.               citizen. Finally, freedom of association combines these
                                                                  two (2) rights by preserving a space in which citizens can
 There are no legal rules in our Law, as unanimously              gather in organizations in order to unite their voices and
 recognized by the authors, that directly protect the             express their political preferences. (Emphasis on the
 personal sphere consisting of prohibiting the                    original deleted and emphasis added.)
 reproduction of the self-image. There is no other means
 for this protection than to resort to the Criminal Code              P.P.D. v. Gobernador I, 139 DPR 643, 713724
 when the reproduction of the image constitutes a crime           (1995), concurrent opinion.
 of insults or slander, or to consider, in the case of a civil
 violation derived from non-contractual negligence, that         Consequently, the legitimate right of a political candidate
 its protection is established in the very broad precept of      to carry out an election campaign and to communicate to
 Article 1,902 of the Civil Code. Thus, until now the            citizens his or her points of view, ideas, messages is not
 assessment of the specific cases has been left at the           debated and, of course, to announce his or her campaign
 prudent discretion of the Courts that will rely mainly on       itinerary. However, we are also not faced with an absolute
 the circumstances that concur, both to incriminate the          and unrestricted right and it “can be subordinated to other
 events as a crime or offense, and to rule on the                interests when public necessity and convenience so
 corresponding civil sanction. Santos Briz, Derecho de           require.” Mari Bras v. Casañas, 96 DPR 15, 21 (1968).
 Daños [Damages Law], Madrid, 1963, pp. 178-179.
 (Emphasis added and in the original.) Colon v. Romero           In the dynamics of Puerto Rican partisan politics, we
 Barceló, supra, pp. 578- 579.                                   cannot impose restrictions that unnecessarily hinder the
                                                                 right to free expression of political candidates. We take
However, the constitutional protection of privacy is not         legal knowledge that during walks, car caravans, rallies,
absolute. It will yield to fundamental values, in special        meetings and other ways of carrying out this type of
circumstances and pressing interests, and in the absence of      campaign, it is normal and natural that there are
other alternative means to achieve such objectives.4 One         photographers and private camera operators or those of the
of these constitutional values, of tremendous importance,        country’s press constantly and instantly covering them. In
is the right to free expression of ideas, opinions, beliefs      public and semi-public events, the right to free expression
and other personal judgments.                                    means that candidates and the press do not have to ask for
                                                                 permission or prior authorization from those participating
We start from the premise that in our democracy                  or who spectate, who, of course, are exposed *314 to be
                                                                 photographed or filmed by means of video or camera. The
                                                                 expectation of privacy of those who are in public or semi-
                                                                 public places, which are susceptible to being captured by
                                                                 the lenses of a photographic camera or video, is minimal;
                                                                 they cannot oppose that photograph or filming.




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                                                                Second, it is not defamatory to point out that someone —
In      Cox v. Hatch, 761 P.2d 556 (Utah 1988), the Utah        in our political reality— is a member of the P.N.P., P.P.D.,
Supreme Court had before it a case of defamation,               P.I.P. and other political groupings. Ordinarily,
invasion of privacy and abuse of personal identity, by
reason of one (1) photo out of five (5) published in a           is it also not defamatory to attribute to a person that he
brochure of eight (8) pages that contained several labor         or she supports the candidate of one of these parties. ...It
articles of Senator Hatch, as part of his reelection             is true, of course, that some people do not recognize any
campaign. That venue concluded that its use was                  merit in any party other than theirs and feel outraged if
authorized and incidental, and that freedom of expression        they are identified as members of another party. But such
prevailed over the generic claim of the right to privacy.        subjective perceptions and sensitivities have nothing to
                                                                 do with reputation, since that is based on the collective
The factual reality found there is different that of the case    judgment of a considerable segment of the citizenry.
in question. The photo was taken in a semi-public place -        (Our translation and omitted scholions.) Cox v. Hatch,
the Post Office offices, the workplace of the three (3)          supra, p. 562.
claimants - was a campaign action, part of the Senator’s
reelection campaign; the claimants were conscious and           Third,
voluntarily agreed and posed to have the photo taken in
question together with the political candidate.                  Although a person may have a legitimate interest in
                                                                 protecting his or her personality from the exploitation of
                                                                 others, this interest is minimal when the person allows
More importantly, unlike the case before us, that court did      themselves to be photographed in a public or semi-public
not detect “specific allegation that the defendants acted        place, and especially when that person permits a
negligently or, in any case, maliciously.” (Our translation.)    photograph to be taken of themselves with a politician
Cox v. Hatch, supra, p. 560. There was no allegation that        during their campaign. The *316 reasonable expectation
with the use of the photographs “any benefit of any value        of all those involved in such circumstances is that such
associated with the names or images of the claimants was         photographs will probably be used in the political
obtained.” (Our translation.) Id. p. 565. There was also no      campaign. There is no doubt that the publication of a
allegation of any kind of claim inherent to the person.          photograph taken in those circumstances does not
                                                                 violate a valid and substantial concern for the protection
However, said venue made some pronouncements that are            of that person’s image or his or her sense of privacy.
broadly compatible with our civil *315 doctrine. Without
strictly adhering to its text, we share them as a general        Contrary to this interest of a lower hierarchy, there is the
rule.                                                            prevailing importance for society in general to sustain
                                                                 the free flow of public information. Modern technology
First,                                                           exposes everyone who is in a public place to the
                                                                 possibility of being photographed. Events and people of
 Although is it sufficient to say that consent is an absolute    public interest attract television and written press
 defense, the law must recognize the obvious needs of            cameras like a magnet. Given the fact that the disclosure
 modern political campaigns and not impose unreal                and recording of news of interest is such a high priority
 conditions on candidates for public positions as well as        issue, it is expected that people who are in public or
 incumbents, who are frequently photographed with other          semi-public places and who unexpectedly fall within the
 people in public places. Requiring the press in general,        lens of the media, do not have an interest of privacy that
 or politicians or candidates for public positions, to obtain    may prevail over the information interests of information
 the consent of all persons who are photographed in              of the First Amendment.
 public or semi-public places prior to the publication of
 such photographs, would have the effect of “freezing”
 the publication of much information that is protected by
 the Constitution. Such an obstacle to the coverage of
 public events by the news media is not compatible with
 the First Amendment. If consent plays any role in this
 context, it would be, without a doubt, limited. (Our
 translation.) Cox v. Hatch, supra, p. 561 esc. 4.




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 The same applies with greater strength to those who           with Dr. Rosselló greeting him, from a numerical point of
                                                               view, does not make much sense, since a single person
 voluntarily allow them to be photographed.              Cf.   along with *318 two (2) family members cannot be
 Hustler Magazine v. Falwell, 485 U.S. 46 (1988). If the       considered “the people.” In fact, in order for the
 law provided otherwise, coverage of news events by            advertisement published to correspond to the message
 electronic means, or of another nature, would be              “Rosselló With the Strength of the People” it was
 significantly restricted. In summary, we resolve that the     necessary to attribute a special meaning and greater
 photographs of public officials and candidates for public     electoral capacity to the image of Mr. Bonilla Medina.
 office that are taken in public or semi-public places, with   The publication is then explained, if it is known that Mr.
 people who pose with them or who, inadvertently,              Bonilla Medina was a member and founder of the P.P.D.
 appear in said photographs cannot be the basis for an         in Isabela, and it can be inferred that the advertisement was
 action for invasion of privacy or abuse of personality.       prepared to convey the misleading message that he
 (Our translation and emphasis.) Cox v. Hatch, supra, p.       supported the P.N.P.
 563.
                                                               It is undeniable that, at least in the town of Isabela, the
                             III                               public endorsement of Mr. Bonilla Medina, a known
According to these precedents, it is obvious that Mr.          founding member of the P.P.D. — the main party of
Bonilla Medina waived his expectation of privacy and           opposition— of the candidate for the governorship of the
could not object to the taking the photograph. However, it     P.N.P. had a great propagandistic value; this at the expense
is evident that, maliciously and intentionally, his image      of an intrinsic value that belonged individually to his
was later used by the P.N.P. in another context; that is, a    person and that could not be exploited in that way, through
political advertisement to communicate and promote the         the publication of his image without his authorization.
idea that Mr. Bonilla Medina endorsed the candidate, Dr.
Rosselló. That is the only reasonable conclusion that *317     The publication of that advertisement in the P.N.P.
is appropriate.5 Otherwise, what was it published for? It      advertising campaign was a direct attack on the right to his
certainly had the purpose of communicating and leading         own political identity. This is the
the electorate to that particular partisan conclusion,
without its authorization. The P.N.P. had other                 legal interest that a person has not to see the his or her
alternatives: Why was the itinerary not printed only with       intellectual, political, social, religious, ideological,
the candidate’s portrait? Why use the image of Mr. Bonilla      professional and further assets distorted or altered.
Medina if, as is claimed, they did not even know his            While the image refers to the mere physical reproduction
political affiliation? We should not be naive. The general      of the person, the identity represents a complex formula
rule proposed that a person who publicly, at political          that serves to distinguish the subject in his or her own
events, is exposed to be photographed, and cannot object        individuality, compared to the other components of
to the incidental publication of their image, does not apply    society. R. Vázquez Ferreyra, Civil Responsabilidad
to the case at hand. We are faced with a very peculiar          civil por lesión a los derechos de la personalidad,
factual situation that, as an exception, protects               [Liability for Injury to Personal Rights], XLV (No. 3)
reservations for the indiscriminate use of that image.          Rev. Jur. Derecho 40- 41 (1995).
The arguments of the defendants P.N.P. et al. are not          The majority, in an accurate manner, argues that “it is
persuasive, that the placement of the image of Mr. Bonilla     considered admissible, without prejudice to other grounds
Medina “in the political advertisement was incidental to       for justification, for the publication or taking of
the purpose of the Nuevo Progresista Party, which was to       photographs in the sphere called contemporary history
promote the image of his candidate for government, Dr.         (aus dem Bereich der Zeitgeschichte) not referring to
Pedro J. Rosselló González.”                                   private life, or when they photograph meetings,
                                                               demonstrations or other similar public acts or public
The three (3) photographs in the records themselves,           events or localities in which the *319 person being
which were presented by the P.N.P., reveal the options that    photographed is an accessory figure.” Opinion of the
it could well have used without injuring the image and         Court, p. 301. However, we have explained here why these
political identity of Mr. Bonilla Medina. In fact, the third   points are not applicable to the case at hand.
photo shows Dr. Rosselló, in another scene, greeting a lady
who was sitting on an open balcony of another residence
accompanied by some children. See Appendix C. Dr.
Rosselló appears followed by his entire numerous
entourage. It is evident that the idea suggested in the
phrase “Rosselló With the Strength of the People” with the
prominent image of Mr. Bonilla Medina (in the
background his mother and alongside a young woman),

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                             IV                                 To summarize, the photograph was published without the
This conclusion is not altered by the majority assertion        express or tacit consent or approval of Mr. Bonilla Medina
that, “normally in a campaign for any elective position,        in a different context, that of a political-partisan
both the press and the candidate themselves take                advertisement (paid political advertisement ). In
photographs of all political events and it is not until the     accordance with the foregoing, it cannot be argued that the
end of the activity that the ones that will be used in the      mere handshake constituted his consent to that type of
campaign are selected. (Emphasis added.) Opinion of the         publication.
Court, p. 303. We ask, the time of that selection: is it a
criterion that legitimizes the granting of a judicial license   The partisan political character of the published
that harms the right to the self-image and political identity   advertisement is evident: it said it was a “Paid Political
of citizens?                                                    Advertisement.” Due to the prominence and size of the
                                                                image of Mr. Bonilla Medina, it is naive to think that its
According to the preceding doctrinal basis and in               use was merely accidental or accessory. After a
accordance with the factual peculiarities present, the right    comprehensive evaluation, it is logical to conclude that the
to privacy of Mr. Bonilla Medina must prevail. Although         reaction of an average reader would be to infer that Mr.
he, publicly, in voluntarily shaking hands with Dr.             Bonilla Medina supported or was a sympathizer of Dr.
Rosselló renounced his right to privacy and, therefore,         Rosselló. With this advertisement, the P.N.P. obtained the
could not require prior authorization to be photographed,       *321 the additional advertising benefit of the value
that waiver did not lead to the advertising use in another      associated with the image of Mr. Bonilla Medina; it used
context of his own image, and the public distortion of his      the intrinsic value of his known partisan affiliation
known political identity; especially when Mr. Bonilla           (P.P.D.) in the town of Isabela.
Medina did not know the particular use that was
prominently given to the photograph. In this sense, said        There were other means for the P.N.P. and Dr. Rosselló to
advertisement attributes to the greeting a scope different      be able to exercise their right to freedom of expression and
from the natural one. Analyzed in its entirety, seen with the   to report on their activities and campaign itinerary without
phrases referred to, it communicates to the reader a false      invading and hurting the privacy of Mr. Bonilla Medina. It
partisan endorsement and an evidently erroneous                 was certainly not indispensable to publish the itinerary of
message.                                                        the political walks with the photo of Dr. Rosselló along
                                                                with other people. That objective could be achieved even
It is pertinent to remember the origin of the meaning of a      with the publication of the message without any
handshake: “In the Middle Ages, when two men met on             photograph. His inclusion was intended to achieve a more
the road, they gave their right hand to show that they did      effective advertisement, from the publicity point of view
not intend to take out their *320 swords. This handshake        of the P.N.P. and its candidate. Nothing prevented them
symbolized friendship. It has lived on, as a gesture of         from obtaining the express authorization of Mr. Bonilla
courtesy, and there are many occasions when it is               Medina. Nothing prevented them from taking a photo for
necessary. Everyone shares the hand of an honored guest.”       these purposes through the P.N.P. advertising agency, with
(Our translation.) World Book Encyclopedia. pg. 29. In          the prior consent of all participants.
addition, “the handshake is as much of an individual
personality as it is our way of walking, and even if we         After all, “greater judicial rigor is justified when
change and improve our way of shaking hands with                evaluating published advertisements that are messages
another, if someone makes us aware of it, our handshake         prepared in the calm and professional atmosphere of
will reflect who we normally are, whether it is shy or          experts in the management of public opinion, such as
confident, warm or distant.” Id., p. 241.                       publicists, persons skilled in marketing, communication,
                                                                etc.” P.P.D. v. Gobernador I, supra, p. 741, concurrent
In our Puerto Rican environment, shaking the hand of            opinion.
another person in response to their greeting is part of our
good manners: it is a polite and friendly gesture. We
cannot turn it into a determining negative factor to infer an
express and unlimited waiver of the right to the self-image
and political identity. It would be equivalent to promoting
civic discourteousness with political candidates or other
public figures, who normally extend their hand as a sign
of fraternal greeting. This Court, within the scope of a
partisan struggle, should not sponsor a rule of such poor
social value that lacks civility.




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We would revoke and impose liability on the P.N.P. We
would send the original proceedings to the lower court to
establish the damages. *322

                     APPENDIX A




                                                            *324

*323                                                                  APPENDIX C




                     APPENDIX B

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                                                     Footnotes

1     We include the photo as Appendix (A). Mr. Bonilla Medina appears in the foreground in the area near the
      entrance to the open porch of his residence. He has an extended right hand and a serious expression. He
      wears a light shirt with short sleeves. In front, on the right side, is Dr. Rosselló offering his right hand, while
      his left hand and forearm are on the right hand and arm of Mr. Bonilla Medina. Mr. Rosselló has firm eye
      contact with Mr. Bonilla Medina, is half smiling and seems to listen to something. He is wearing a casual,
      striped, short-sleeved shirt and wears a watch and a wedding ring on his left hand.
      We also see two (2) figures of women looking out from a door. The first is an older woman, Bonilla Medina’s
      mother, with a scarf on her head and a light casual robe; she observes the greeting without any particular
      expression. The other one, is a young woman with dark hair, who looks at the greeting in a curious way.
      She wears a light-colored suit. On the right side, behind Dr. Rosselló we see a man, who is described as
      Mayor Rivera of Isabela. He wears dark pants and a striped sports polo shirt; he looks alert looking at the
      greeting. Behind him we see, partially hidden, a person.
2     As indications they argue:
      “FIRST ERROR: The Honorable Appellate Court erred by considering as true ‘‘that the claimant waived his
      expectation of privacy by allowing Dr. Pedro Rosselló and his partisan entourage who accompanied him to
      enter up to the balcony of his home.”
      “SECOND ERROR: The Honorable Appellate Court erred in considering as true that the activity in which
      the photograph object of this litigation was taken was a campaign activity.
      “THIRD ERROR: The Honorable Appellate Court erred in determining that there were no disputes of
      essential facts and proceeded to issue a summary judgment in favor of the defendants.
      “FOURTH ERROR: The Honorable Appellate Court erred in determining that by allowing entry without any
      safeguard or limitation, the claimant converted the front and balcony of his house into a public forum.
      “FIFTH ERROR: The Honorable Appellate Court erred in determining that there is no reason or legal basis
      to claim that the photographs taken of the claimant and his mother violated the right to privacy.
      “SIXTH ERROR: The Honorable Appellate Court erred in determining that the case of Colón v. Romero
      Barceló,     112 DPR 573 is different from this case because in said case none of the claimants consented
      to waive their right to privacy.
      “SEVENTH ERROR: The Honorable Appellate Court erred in determining that the claimant party was
      reckless.” Petition for certiorari, pp. 5-6.
3     “It is personal inviolability in its most complete and broadest form. Honor and privacy are values of the
      individual that deserve full protection, not only against attacks from other individuals, but also against
      abusive interference from the authorities.” 4 Journal of Sessions of the Constituent Convention 2566 (1951).
4     In    Colón v. Romero Barceló, 112 D.P.R. 573 (1982), took into consideration that the defendants could
      carry out their message in another way and means, without harming the claimants’ privacy.
5     As we stated in    P.P.D. v. Gobernador I, 139 DPR 643 (1995), the courts may examine and reach their
      own conclusions regarding the nature and partisan purposes of some advertisements.

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